Case 2:10-cv-13101-BAF-RSW ECF No. 240 filed 04/11/18        PageID.7794    Page 1 of 3




                    UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN

  UNITED STATES OF AMERICA,

        Plaintiff,

  and
                                                            Civil Action No.
                                                       2:10-cv-13101-BAF-RSW
  SIERRA CLUB,
                                                       Judge Bernard A. Friedman
         Intervenor-Plaintiff,
                                                       Magistrate Judge R. Steven
        v.
                                                                Whalen
  DTE ENERGY COMPANY AND
  DETROIT EDISON COMPANY,

        Defendants.


              NOTICE OF FIRM NAME AND E-MAIL CHANGES

        F. William Brownell, Mark B. Bierbower, Harry M. Johnson, III, Makram

 B. Jaber, George P. Sibley, III, Brent A. Rosser, and Lucinda M. Langworthy,

 counsel for Defendants DTE Energy Company and Detroit Edison Company,

 hereby notify the court that the law firms Hunton & Williams LLP and Andrews

 Kurth Kenyon merged effective April 2, 2018 to become a new combined firm –

 Hunton Andrews Kurth LLP.

        In addition to the firm name change, the e-mail addresses for counsel are

 now as follows:
Case 2:10-cv-13101-BAF-RSW ECF No. 240 filed 04/11/18    PageID.7795   Page 2 of 3



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        Makram B. Jaber                    mjaber@huntonak.com
        George P. Sibley, III              gsibley@huntonak.com
        Brent A. Rosser                    brosser@huntonak.com
        Lucinda M. Langworthy              clangworthy@huntonak.com

 Counsels’ mailing addresses and telephone numbers are unchanged.

 Dated: April 11, 2018                      Respectfully submitted

                                            /s/ F. William Brownell
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                                       2
Case 2:10-cv-13101-BAF-RSW ECF No. 240 filed 04/11/18         PageID.7796     Page 3 of 3




                          CERTIFICATE OF SERVICE

       I hereby certify that on this 11th day of April, 2018, I electronically filed the

 foregoing document with the Clerk of the Court using the CM/ECF system which

 will send notification of such filing to each registered CM/ECF counsel of record.

                                               /s/ F. William Brownell
                                               F. William Brownell




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